       Case 1:18-cr-00069-LEK Document 1 Filed 05/30/18 Page 1 of 2         PageID #: 1
     ORIGINAL
f-


     KENJIM.PRICE #10523                                                FILED IN THE
                                                                UNiTED STATES DISTRICT COURT
     United States Attorney                                          DISTRICT OF HAWAII

     District of Hawaii
                                                                    . MAY 30 2018
                                                                    V^'
                                                               at    o'clock and   min.J M
     THOMAS J. BRADY #4472                                           SUE BEIT1A, CLERK
     Assistant United States Attorney
     PJKK Federal Building, Room 6-100
     300 Ala Moana Boulevard
     Honolulu, Hawaii 96850
     Telephone:(808)541-2850
     Facsimile:(808)541-2958
     F-mail: tom.bradv@usdoi.gov.


     Attorneys for Plaintiff
     UNITED STATES OF AMERICA


                      IN THE UNITED STATES DISTRICT COURT


                               FOR THE DISTRICT OF HAWAII


     UNITED STATES OF AMERICA, ) CR. NO. CRl8 00069 LEK
                          Plaintiff,        INDICTMENT


           V.



     GRANT MANAKU,                          [18 U.S.C. §§ 2252A(a)(5)(B)
                                             and 2252A(b)(2)]

                          Defendant.



                                       INDICTMENT


     The Grand Jury charges:

           On or about and between Febmary 25, 2017, and April 24, 2017, both dates

     being approximate and inclusive, within the District of Hawaii, GRANT
  Case 1:18-cr-00069-LEK Document 1 Filed 05/30/18 Page 2 of 2        PageID #: 2




MANAKU,the defendant, did knowingly possess material that contained images

of child pornography, as defined in Title 18, United States Code, Section

2256(8)(A), that involved the use of one or more prepubescent minors, and minors

who had not obtained 12 years of age, and that had been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, and that was produced using materials that had been mailed, shipped,

and transported in and affecting interstate and foreign commerce by any means,

including by computer.

      All in violation of Title 18, United States Code, Sections 2252A(a)(5)(B)

and2252A(b)(2).

             Dated: MaV'^^. 2018. Honolulu, Hawaii.

                                      A TRUE BILL



                                      /s/ Foreperson
                                      FORLPLRSON,GRAND JURY



KLNJIM.PRICE
United State^Attomey
Dist:^t-^)fjfawaii


THOMAS J. B^DY
Assistant U.S. Attomey

UNITED STATES v./GRANT MANAKU
Indictment
cr.No.cRi8 00069 LEK
